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                            UNITED STATES DISTRICT COURT

                                                                                  FILED
                            FOR THE DISTRICT OF COLUMBIA


                                    )                                             SEP 29 2020
                                                                             Clerk, U.S. District & Bankruptcy
RICHARD DEAN CAPPS,                 )
                                                                             Court for the District of Columbia
ARTIFICIAL ENTITY                   )
                                    )
            Plaintiff,              )
                                    )
      v.                            )                    Civil Action No. 1:20-cv-02459 (UNA)
                                    )
UNITED STATES OF AMERICA, et al., )
                                    )
            Defendants.             )
___________________________________ )


                                  MEMORANDUM OPINION

       This matter is before the court on its initial review of plaintiff’s pro se complaint and

application for leave to proceed in forma pauperis. The court will deny the in forma pauperis

application and dismiss this matter without prejudice.

       Plaintiff sues the United States and the United States Secretary of the Treasury. Plaintiff

indicates that this matter is brought by a “private business trust.” The prolix complaint is far from

a model in clarity, but the claims all seem to arise from issues regarding the aforementioned trust.

The complaint seeks myriad relief, for example, it includes a demand that the United States

“acknowledge [that] plaintiff [has] awakened and converted back to [] God given status[,]” and

asks the court to recognize that the trust, be “manifested [with] intent and all records ad nauseum.”

The complaint also demands (1) that a “chancellor” be appointed to the trust, (2) the disclosure of

unspecified records, and (3) the dismissal of unknown state criminal charges.

       “In all courts of the United States the parties may plead and conduct their own cases

personally or by counsel[.]” 28 U.S.C. § 1654. As an artificial entity, a trust cannot proceed in
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federal court without licensed counsel. See Fromm v. Duffy as Tr. of Gary Fromm Family Tr.,

No.19-cv-1121 (EGS), 2020 WL 109056 at *4 (D.D.C. Jan. 9, 2020) (noting that “[c]ourts have

interpreted [§ 1654] to preclude a non-attorney from appearing on behalf of another person or an

entity such as a corporation, partnership, or trust”); see also Casares v. Wells Fargo Bank, N.A.,

No. 13-cv-1633 (ABJ), 2015 WL 13679889 at *2 (D.D.C. May 4, 2015) (a “plaintiff, who is

proceeding pro se, cannot represent the trust in federal court, even as the trustee, as he is not a

licensed attorney”) (citing Hale Joy Trust v. Comm'r of IRS, 57 Fed. App’x. 323, 324 (9th Cir.

2003) and Knoefler v. United Bank of Bismark, 20 F.3d 347, 348 (8th Cir. 1994)).

       In addition, an artificial entity cannot proceed under the in forma pauperis statute, 28

U.S.C. § 1915(a)(1); the Supreme Court has interpreted that provision as applicable “only to

individuals” or “natural persons,” not “artificial entities.” Rowland v. California Men’s Colony,

Unit II Men’s Advisory Council, 506 U.S. 194, 201–07 (1993).

       Consequently, the in forma pauperis application, ECF No. 2, is denied and this case will

be dismissed without prejudice. A separate order accompanies this memorandum opinion.




                                                  ____/s/________________
                                                  RUDOLPH CONTRERAS
                                                  United States District Judge

DATE: September 29, 2020
